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           EXHIBIT “H”
   Case
    Case23-01129-mkn
         23-12054-mkn Doc
                       Doc22-8
                           33 Entered
                               Entered07/27/23
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DENIED
DENIED because there is no evidence of notice
being given to the identified landlord. Denial is
without prejudice to any other relief being
sought on proper notice in the event that the
automatic stay has been violated.




    Entered on Docket
    July 27, 2023
__________________________________________________________________
